Case: 4:12-cv-01005-CDP Doc. #: 1-5 Filed: 06/06/12 Page: 1 of 1 PagelD #: 152

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

PHILADELPHIA CONSOLIDATED
HOLDING CORP., et al.

Plaintiff,

Vv Case No.

LSI-LOWERY SYSTEMS,
INC., et al. 2

Defendant,

Nee Ne Ne ee ee ee ee ee eee

ORIGINAL FILING FORM

THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
WHEN INITIATING A NEW CASE,

[J THIS SAME CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER

AND ASSIGNED TO THE HONORABLE JUDGE

O THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY

PREVIOUSLY FILED COMPLAINT. THE RELATED CASE NUMBER IS AND

THAT CASE WAS ASSIGNED TO THE HONORABLE . THIS CASE MAY,

THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING,

NEITHER THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT

COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

MAY BE OPENED AS AN ORIGINAL PROCEEDING.

The undersigned affirms that the information provided above is true and correct.

Date: wis [iz amt

: Signature offiling Darty

